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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ROSENDO GONZALEZ                              §
                                              §
v.                                            §   CIVIL ACTION NO. ______________
                                              §         JURY
STATE FARM MUTUAL AUTOMOBILE                  §
INSURANCE COMPANY                             §


                            INDEX OF STATE COURT PLEADINGS


1.      Case Details                                                     as of 04/24/2017

2.      Plaintiff's Original Petition                                         03/28/2017

3.      Citation                                                              03/29/2017

4.      Affidavit of Service                                                  04/10/2017

5.      Notice of Initial Dismissal Hearing                                   04/13/2017

6.      Original Answer of Defendant State Farm Mutual Automobile
        Insurance Company                                                     04/21/2017




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                              Tab 1
Details                                                                                     Page 1 of 4

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            Case Information




            DC-17-03661                  193rd District Court      03/28/2017

            CNTR CNSMR COM DEBT          OPEN




            Party


                                                Ú
            GONZALEZ, ROSENDO     Lead Attorney
                                  STAFFORD, PAUL K
                                  Retained


                                  214-420-1029


                                  214-206-9445




            STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

            Address
            BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
            211 EAST 7th STREET, STE. 620
            AUSTIN TX 78701-3218


                          Ú




4/24/2017
Details                                                                                 Page 2 of 4

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            Lead Attorney
            DE DIEGO, ARMANDO
            Retained


            214-426-1220


            214-426-1246




            Events and Hearings




                                        Ú




                                    Ú




                                Ú



              OUT OF COUNTY




              OUT OF COUNTY


              04/10/2017


                                            Ú




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                AFF STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY EXEC 3/31/17


                                                       Ú




                (SUBMITTED)


                                                           Ú




              GINSBERG, CARL


              1:30 PM




            Financial


                Total Financial Assessment                                          $295.00
                Total Payments and Credits                                          $295.00


             3/28/2017   Transaction                                               $295.00
                         Assessment

             3/28/2017   CREDIT CARD -       Receipt # 19781-    GONZALEZ,        ($295.00)
                         TEXFILE (DC)        2017-DCLK           ROSENDO


                Total Financial Assessment                                           $40.00
                Total Payments and Credits                                           $40.00


             4/21/2017   Transaction                                                $40.00
                         Assessment




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             4/21/2017   CREDIT CARD -   Receipt # 25381-   STATE FARM MUTUAL   ($40.00)
                         TEXFILE (DC)    2017-DCLK          AUTOMOBILE
                                                            INSURANCE COMPANY




            Documents




4/24/2017
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                              Tab 2
                                                                                                                  FILED
                                                                                                      DALLAS COUNTY
                                                                                                   3/28/2017 3:27:26 PM
      Case 3:17-cv-01119-G Document 1-3 Filed 04/27/17
1 CT-E-SERVE                                                         Page 8 of 46 PageID 45              FELICIA PITRE
                                                                                                      DISTRICT CLERK


                                                                                               Freeney Anita
                                                 DC-17-03661
                                       Cause No. __________

      ROSENDO GONZALEZ                               §     IN THE DISTRICT COURT
                                    Plaintiff        §
                                                     §
                                             v.      §
                                                     § L-193RD
                                                           _____ JUDICIAL DISTRICT
      STATE FARM MUTUAL                              §
      AUTOMOBILE INSURANCE                           §
      COMPANY                                        §
                        Defendant                    §     DALLAS COUNTY, TEXAS


                              PLAINTIFF’S ORIGINAL PETITION

             COMES NOW Plaintiff ROSENDO GONZALEZ (“GONZALEZ” or “Plaintiff”)

      and files this Plaintiff’s Original Petition complaining of Defendant STATE FARM

      MUTUAL AUTOMOBILE INSURANCE COMPANY (“STATE FARM”) and for cause

      of action against this Defendant would show:

                                        I.        SUMMARY


             Rosendo Gonzalez purchased an auto insurance policy # G231-510-43T (the

      “Policy”) issued by State Farm (“State Farm”). On February 26, 2016, a 2003 Dodge

      Ram 2500 pickup truck (license plate #9CMZ12; VIN # 3D7KA28C13G819332)

      (hereinafter, the “Truck”), which was a covered vehicle pursuant to the Policy, was stolen

      from 15201 Dallas Parkway, Addison, Texas 75001 (hereinafter, the “February Theft”).

      The February Theft was promptly reported to the Addison Police Department. (Report:

      16-1016; Officer Gandy #245; 972-450-7156). The February Theft was also promptly

      reported to Rosendo Gonzalez’ auto insurer, State Farm, and was assigned a claim

      number (#43823G088), and one or more claims representatives, including Georgina

      Avila (972-907-6222; 855-341-8184; 855-259-8568) and Tony Cooks (253-439-4944;

      800-331-1169). The Truck was eventually recovered, prior to March 11, 2016, and



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      Rosendo Gonzalez reported property damage and loss. The property damage and loss

      was not paid prior to March 11, 2016. On the evening of March 11, 2016 or early

      morning hours of March 12, 2016, the same 2003 Dodge Ram 2500 pickup truck (license

      plate #9CMZ12; VIN # 3D7KA28C13G819332), which was a covered vehicle pursuant

      to the Policy, was stolen from Rosendo Gonzalez’s home at 524 Fairview Drive,

      Richardson, Texas 75081 (hereinafter, the “March Theft”). The March Theft was

      reported to the Richardson Police Department. (Incident: 201600027121; Officer

      Fourrier #1212; Detective Scott Ulrick #1206; 972-744-4904). The March Theft was also

      promptly reported to Rosendo Gonzalez’ auto insurer, State Farm, and was assigned a

      claim number (#43830X854), and one or more claims representatives, including Linda

      Caballero (855-341-8184) and Tony Cooks (253-439-4944; 800-331-1169 ext). To date,

      the Truck has not been recovered following the March Theft. State Farm (Tony Cooks)

      originally accused Rosendo Gonzalez of perpetrating the March Theft (stealing his own

      Truck); however, according to Richardson Police Department Detective Ulrick, Rosendo

      Gonzalez is not a suspect in the March Theft of the Truck, and did not steal his own

      Truck. The market value of the Truck at the time of the theft was approximately

      $19,000. The estimated actual cash value of the Truck at the time of the theft was

      approximately $18,300. Subsequent to the March Theft, State Farm issued checks in the

      amounts of $1,609.83 and $3,200.00 as indemnity for the February Theft. The February

      Theft Payments are a misrepresentation of the compensation and indemnity owed by

      State Farm to Rosendo Gonzalez, are far less than the value of the lost or damages

      property incurred by Rosendo Gonzalez, and were not promptly paid to Rosendo

      Gonzalez. The March Theft Payment offered by State Farm as compensation for the




PLAINTIFF’S ORIGINAL PETITION                                                    PAGE 2
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      occurrence is a misrepresentation of the compensation and indemnity owed by State Farm

      to Rosendo Gonzalez, and is far less than both the Market Value of the Truck. In

      addition, Rosendo Gonzalez incurred other necessary expenses as a result of the February

      Theft, including, but not limited to, car rental expenses. As of the date of the May 2016

      Demand Letter from Rosendo Gonzalez to State Farm, State Farm did not promptly pay,

      has not promptly paid, and has not paid the full value of the compensation and indemnity

      owed to its policyholder Rosendo Gonzalez for the February Theft or for the March

      Theft. State Farm owes Rosendo Gonzalez an amount to compensate and indemnify

      Rosendo Gonzalez for the lost or damaged property resulting from the February Theft

      (approximately $7,500) as well as the rental car expenses that resulted from the February

      Theft (at least $640.08), as well as the fair Market Value (approximately $19,000) or the

      accurate Actual Cash Value (approximately $18,300) resulting from the March Theft, for

      a total sum owing by State Farm to Rosendo Gonzalez of at least $26,140.08. The acts,

      omissions, and continued failure or refusal of State Farm, by and through its

      representatives, to issue proper payment constitutes, but is not limited to, negligence,

      fraud, fraud in the inducement, and breach of contract. State Farm’s acts, omissions, and

      representations were knowingly and intentionally false when made, were intended to

      deceive or to be relied upon by Rosendo Gonzalez, are deceptive to Rosendo Gonzalez as

      consumers of insurance services pursuant to the Texas Deceptive Trade Practices Act

      (Chapter 17, Texas Business and Commerce Code), are unfair and deceptive pursuant to

      the Chapter 541 of the Texas Insurance Code, and are a violation of the prompt payment

      statute pursuant to Chapter 542 of the Texas Insurance Code. Accordingly, Rosendo

      Gonzalez is entitled to, and does now seek, punitive and treble damages from State Far in




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      the amount of $78,420.24 payable to “Rosendo Gonzalez” and any applicable

      lienholder to the Truck, in addition to pre-judgment interest, costs, attorney’s fees,

      injunctive relief, and any and all additional relief to which he is justly entitled.



                               II.     DISCOVERY CONTROL PLAN


              Plaintiff GONZALEZ intends to conduct discovery pursuant to Level 1, as

      described by Texas Rule of Civil Procedure 190.


                                     III. PARTIES AND SERVICE


              1.        Plaintiff ROSENDO GONZALEZ, is an individual who resides in the

      State of Texas.

              2.        Defendant STATE FARM is a foreign (Illinois) corporation authorized to

      conduct business in the State of Texas, and conducting business in the State of Texas,

      having its principal place of business at One State Farm Plaza D2, Bloomington, Illinois

      61710-0001. STATE FARM can be served with process by serving its registered agent

      located at Corporation Service Company, located at 211 East 7th Street, Suite 620, Austin,

      Texas 78701-3218, or wherever STATE FARM may be found.



                              IV.     JURISDICTION AND VENUE


              4.        This Court has jurisdiction over this cause because the amount in

      controversy exceeds the minimum jurisdictional limits of the Court. Defendant conducts

      business in Texas and is amenable to service of process in the state. This court has




PLAINTIFF’S ORIGINAL PETITION                                                         PAGE 4
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      personal jurisdiction because all or a substantial part of the events or omissions giving

      rise to this lawsuit occurred in Dallas County, Texas.

             5.       Venue is proper in this Court pursuant to Chapter 15 of the Civil Practice

      and Remedies Code because all or a substantial part of the events or omissions giving rise

      to the Plaintiffs’ claims occurred in Dallas County, Texas. Furthermore, the contract at

      issue was performable, in whole or in part, in Dallas County, Texas.



                             V.      CONDITIONS PRECEDENT


             6.       All conditions precedent have been performed, have occurred, or have

      been excused.

                             VI.     DEMAND FOR AN ACCOUNTING

             7.       Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs.

             8.       Plaintiff demands an accounting of any and all services performed by

      Defendant for the benefit of Plaintiff,, all financial transactions involving Defendant and

      Plaintiff, as well as any accounting ledgers, accounting books, and accounting or claims

      records of Defendant pertaining in any way to Plaintiff.



                             VII.    FACTUAL BACKGROUND


             9.       Rosendo Gonzalez purchased an auto insurance policy # G231-510-43T

      (the “Policy”) issued by State Farm (“State Farm”).




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             10.    On February 26, 2016, a 2003 Dodge Ram 2500 pickup truck (license

      plate #9CMZ12; VIN # 3D7KA28C13G819332) (hereinafter, the “Truck”), which was a

      covered vehicle pursuant to the Policy, was stolen from Rosendo Gonzalez’s workplace

      at 15201 Dallas Parkway, Addison, Texas 75001 (hereinafter, the “February Theft”). The

      February Theft was promptly reported to the Addison Police Department. (Report: 16-

      1016; Officer Gandy #245; 972-450-7156). The February Theft was also promptly

      reported to Rosendo Gonzalez’ auto insurer, State Farm, and was assigned a claim

      number (#43823G088), and one or more claims representatives, including Georgina

      Avila (972-907-6222; 855-341-8184; 855-259-8568) and Tony Cooks (253-439-4944;

      800-331-1169).

             11.    The Truck was eventually recovered, prior to March 11, 2016, and

      Rosendo Gonzalez reported the following property damage and loss, including but not

      limited to:

                    License Plate Off
                    Fog Lights
                    Brush Guard
                    Winch
                    Speakers inside
                    Dash Broken
                    Plastic under center
                    Ignition Changed
                    Wires cut under steering column
                    Steering Column Changed
                    Tools
                    Jack 2 ton
                    Lug nut wrench
                    Manual for truck
                    Jumper cables
                    20” Rims and tires (approximate value: $2,100)
                    took kit              (approximate value: $200)




PLAINTIFF’S ORIGINAL PETITION                                                 PAGE 6
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             12.     Based upon non-aftermarket parts, accessories, and property of like kind

      and quality for a comparable vehicle, the value of the lost or damaged property resulting

      from the February Theft at the time of the theft was approximately $7,500.

             13.     On the evening of March 11, 2016 or early morning hours of March 12,

      2016, the same 2003 Dodge Ram 2500 pickup truck (license plate #9CMZ12; VIN #

      3D7KA28C13G819332), which was a covered vehicle pursuant to the Policy, was stolen

      from Rosendo Gonzalez’s home at 524 Fairview Drive, Richardson, Texas 75081

      (hereinafter, the “March Theft”). The March Theft was reported to the Richardson Police

      Department. (Incident: 201600027121; Officer Fourrier #1212; Detective Scott Ulrick

      #1206; 972-744-4904). The March Theft was also promptly reported to Rosendo

      Gonzalez’ auto insurer, State Farm, and was assigned a claim number (#43830X854), and

      one or more claims representatives, including Linda Caballero (855-341-8184) and Tony

      Cooks (253-439-4944; 800-331-1169 ext).

             14.     To date, the Truck has not been recovered following the March Theft.

      State Farm (Tony Cooks) originally accused Rosendo Gonzalez of perpetrating the

      March Theft (stealing his own Truck); however, according to Richardson Police

      Department Detective Ulrick, Rosendo Gonzalez is not a suspect in the March Theft of

      the Truck and did not steal his own Truck.

             15.     Based upon vehicles of like kind and quality, and a comparison of

      comparable vehicle available for sale or purchase in the market, the estimated market

      value of the Truck at the time of the theft was approximately $19,000 (hereinafter, the

      “Market Value”).




PLAINTIFF’S ORIGINAL PETITION                                                      PAGE 7
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               16.   Based upon vehicles of like kind and quality, and a comparison of the cost

      to repair the Truck, or to replace the Truck with a comparable vehicle in the market, the

      estimated actual cash value of the Truck at the time of the theft was approximately

      $18,300 (hereinafter, the “Actual Cash Value”).

               17.   Subsequent to the March Theft, State Farm issued the following checks as

      indemnity for the February Theft (hereinafter, the “February Theft Payments”), as

      follows:

               Payment No:          1 08 146580 J
               Payment Amount:      $ 1,609.83
               Issue Date:          03-12-2016
               Authorized by: Georgina Avila
               Phone:               (855) 341-8184

               Payment No:          1 08 167720 J
               Payment Amount:      $ 3,200.00
               Issue Date:          03-28-2016
               Authorized by: Tony Cooks
               Phone:               800-331-1169


               18.   The February Theft Payments offered by State Farm as compensation for

      the occurrence (February Theft) are a misrepresentation of the compensation and

      indemnity owed by State Farm to Rosendo Gonzalez, and is far less than the value of the

      lost or damages property incurred by Rosendo Gonzalez. In addition, the February Theft

      Payments (issued March 12, 2016 and March 28, 2016) were not promptly paid to

      Rosendo Gonzalez and were not issued until after the date of the March Theft (March 11,

      2016).




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             19.     Regarding the March Theft, Rosendo Gonzalez received a letter from

      State Farm dated “April 18, 2016”, stating, and offering the following amount in

      indemnity, as follows:

                     Actual Cash Value                              $ 12,406.00
                     Plus: Taxes                                    $ 775.38
                     License & Title Fees:                          $     59.83
                     Registration Fee                               $     24.50
                     Less: Deductible                               $ 100.00
                     Payment to Lienholder (if applicable)          $ Unknown

                               Total Net Payable to You:            $ 13,141.21


             20.     The March Theft Payment offered by State Farm as compensation for the

      occurrence (March Theft) is a misrepresentation of the compensation and indemnity

      owed by State Farm to Rosendo Gonzalez, and is far less than both the Market Value of

      the Truck (approximately $19,000) as well as the Actual Cash Value (approximately

      $18,300) of the Truck.

             21.     In addition, Rosendo Gonzalez incurred other necessary expenses as a

      result of the February Theft, including, but not limited to, the following:

                     Car Rental 2/29/16 – 4/12/16:                  $640.08



             22.     As of the date of the March 2016 Demand Letter from Rosendo Gonzalez

      to State Farm, State Farm did not promptly pay, has not promptly paid, and has not paid

      the full value of the compensation and indemnity owed to its policyholder Rosendo

      Gonzalez for the February Theft or for the March Theft. State Farm owes Rosendo

      Gonzalez an amount to compensate and indemnify Rosendo Gonzalez for the lost or

      damaged property resulting from the February Theft (approximately $7,500) as well as




PLAINTIFF’S ORIGINAL PETITION                                                       PAGE 9
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      the rental car expenses that resulted from the February Theft (at least $640.08), as well as

      the fair Market Value (approximately $19,000) or the accurate Actual Cash Value

      (approximately $18,300) resulting from the March Theft, for a total sum owing by State

      Farm to Rosendo Gonzalez of at least $26,140.08.

              23.    The acts, omissions, and continued failure or refusal of State Farm, by and

      through its representatives, to issue proper payment constitutes, but is not limited to,

      negligence, fraud, fraud in the inducement, and breach of contract. State Farm’s acts,

      omissions, and representations were knowingly and intentionally false when made, were

      intended to deceive or to be relied upon by Rosendo Gonzalez, are deceptive to Rosendo

      Gonzalez as consumers of insurance services pursuant to the Texas Deceptive Trade

      Practices Act (Chapter 17, Texas Business and Commerce Code), are unfair and

      deceptive pursuant to the Chapter 541 of the Texas Insurance Code, and are a violation of

      the prompt payment statute pursuant to Chapter 542 of the Texas Insurance Code.

      Accordingly, Rosendo Gonzalez is entitled to, and does now seek, punitive and treble

      damages from State Far in the amount of $78,420.24 payable to “Rosendo Gonzalez”

      and any applicable lienholder to the Truck, in addition to pre-judgment interest, costs,

      attorney’s fees, injunctive relief, and any and all additional relief to which he is justly

      entitled.

              24.    The Affidavit of Rosendo Gonzalez (“GONZALEZ Affidavit”) is attached

      hereto and fully incorporated by reference herein.




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                            VIII. CAUSES OF ACTION


                                       Count I – Negligence


              25.   Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

              26.   Plaintiff complied with all duties and obligations pursuant to the Policy.

              27.   After receiving all required and relevant information from GONZALEZ,

      and GONZALEZ’s agents, Defendant STATE FARM breached its duties pursuant to the

      Policy by negligently failing or refusing to provide the insurance benefits as stated in

      the Policy and by failing to issue proper payment on the Policy, for which Plaintiff

      now sues.

                                  Count II – Breach of Contract


              28.   Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

              29.   Plaintiff complied with all duties and obligations pursuant to the Policy.

              30.   Defendant STATE FARM breached the Policy by failing or refusing to

      provide the insurance benefits as stated in the Policy. STATE FARM also breached

      the Policy by failing to issue proper payment on the Policy, for which Plaintiff now

      sues.

                                        Count III – Fraud

              31.   Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.




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               32.     Defendant misrepresented the Policy by making an untrue statement of

      material fact.     Specifically, Defendant stated that STATE FARM would provide

      insurance benefits to Plaintiff; however, Defendant failed or refused to provide

      insurance benefits and insurance proceeds to Plaintiff.

               33.     Defendant failed to state a material fact that is necessary to make other

      statements made not misleading, considering the circumstance under which the

      statements were made. Specifically, among other acts and omissions, Defendant

      failed to state that Defendant STATE FARM would accept Plaintiff’s premiums on

      the Policy, but had and has no intention of providing insurance benefits to Plaintiff or

      paying Plaintiff the insurance proceeds pursuant to the Policy.

               34.     Defendant made the statements described above in such a manner as to

      mislead a reasonably prudent person to a false conclusion of a material fact.

      Specifically, based upon the Defendant’s representations, Plaintiff concluded that

      Defendant STATE FARM would not breach the contract, intended to perform under

      the Policy, and would perform under the Policy.

               35.     Defendant made a material misstatement of law concerning

      Defendant’s duty to Plaintiff under the Policy.          Specifically, contrary to basic

      contract law and tort law, Defendant has stated that Plaintiff is not entitled to

      damages pursuant to Defendant’s breach of the Policy, at law, or in equity, and has

      failed or refused to abide by the Policy based upon this material misstatement of

      contract law and tort law.

               36.     Each of the Defendant’s representations described above were and are

      false.




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               37.   Defendant knew the representations were false when made, or made

      the representations recklessly, as a positive assertion, and without knowledge of their

      truth.

               38.   Defendant made the representations with the intent that Plaintiff would

      act upon them, and Plaintiff did act upon them.

               39.   Plaintiff relied on Defendant’s misrepresentations.

               40.   Defendant’s wrongful conduct describe above caused injury and

      damages to Plaintiff, for which Plaintiff now sues. Further, Plaintiff is entitled to

      exemplary damages as a result of Defendant’s fraudulent conduct.



                                    Count IV - Fraudulent Inducement

               41.   Plaintiff incorporates by reference the facts and allegations contained in

      the foregoing paragraphs, as well as the GONZALEZ Affidavit.

               42.   Defendant concealed such facts from Plaintiff and made false

      representations to Plaintiff to induce them to enter into the Policy. Specifically, among

      other acts and omissions, Defendant failed to state that Defendant STATE FARM

      intended to accept Plaintiff’s premiums on the Policy, but had and has no intention of

      providing insurance benefits to Plaintiff or paying Plaintiff the insurance proceeds

      pursuant to the Policy. More specifically, Defendant failed to state that Defendant

      STATE FARM would not breach the contract, intended to perform under the Policy,

      and would perform under the Policy.

               43.   Defendant knew the representations were false when made, or made the

      representations recklessly, as a positive assertion, and without knowledge of their truth.




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 13
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                44.   Plaintiff relied on Defendant’s misrepresentations in entering into the

      Policy.

                45.   Defendant’s wrongful conduct as described above caused injury and

      damages to Plaintiff, for which Plaintiff now sues.        Further, Plaintiff is entitled to

      exemplary damages as a result of Defendant’s fraudulent conduct.



            Count V – Tortious Interference with Prospective Business Relationships

                46.   Plaintiff incorporates by reference the facts and allegations contained in

      the foregoing paragraphs, as well as the GONZALEZ Affidavit.

                47.   Rosendo Gonzalez purchased an auto insurance policy # G231-510-43T

      (the “Policy”) issued by State Farm (“State Farm”).

                48.   Plaintiffs complied with all duties and obligations pursuant to the Policy.

                49.   Defendant breached the Policy by failing or refusing to provide insurance

      benefits and insurance proceeds as stated in the Policy.

                50.   Defendant misrepresented the Policy by making one or more untrue

      statement of material fact. Specifically, Defendant stated that STATE FARM would

      provide insurance benefits and insurance proceeds to Plaintiff, and Defendant has

      failed to do so.

                51.   Defendant failed to state a material fact that is necessary to make other

      statements made not misleading, considering the circumstance under which the

      statements were made. Specifically, among other acts and omissions, Defendant

      failed to state that Defendant STATE FARM intended to accept Plaintiff’s premiums

      on the Policy, but has no intention of providing insurance benefits to Plaintiff or




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 14
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      paying Plaintiff the insurance proceeds pursuant to the Policy. More specifically,

      Defendant failed to state that Defendant STATE FARM would not breach the

      contract, intended to perform under the Policy, and would perform under the Policy.

                52.     Plaintiff relied on Defendant’s misrepresentations in entering into the

      Policy.

                53.     If not for Defendant’s acts or omissions, there was a reasonable

      probability that Plaintiff would have entered into an insurance business relationship with

      a third-person or with another entity. See T & T Geotechnical, Inc. v. Union Pacific

      Resources Co., 944 F.Supp. 1317 (N.D.Tex 1996).

                54.     The acts and omissions of Defendant have intentionally interfered with

      one or more of Plaintiff’s prospective business relationships. In addition, the acts and

      omissions of Defendant have damaged the reputation of Plaintiff in the insurance

      business and have damaged, dissolved, and prevented Plaintiffs’ prospective business

      relationships.

                55.     Defendant’s conduct was independently tortious or unlawful, and the

      Defendant’s interference proximately caused Plaintiff’s injury and damages, for which

      Plaintiff now sues.



                       Count VI - Breach of Duty of Good Faith and Fair Dealing

                56.     Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

                57.     Defendant owed Plaintiff a duty of good faith and fair dealing, which

      required Defendant to perform its duties and obligations under the Policy in a reasonable




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 15
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      and timely manner. Defendant breached its duty to Plaintiff by failing or refusing to

      provide the insurance benefits as stated in the Policy. STATE FARM also breached

      the Policy by failing to issue proper payment on the Policy, for which Plaintiff now

      sues.

              58.     Defendant’s actions were wanton, reckless, malicious and/or intentional in

      disregard to Plaintiff’s rights under the Policy.

              59.     As a result of Defendant’s actions, Plaintiff suffered economic damages

      and mental anguish damages, or other amount to be determined by the trier of fact, for

      which damages Plaintiff now sue. As a further result of Defendant’s actions, Plaintiff is

      entitled to recover exemplary damages as found by the trier of fact.



                    Count VII - Violation of Texas Deceptive Trade Practices Act

              60.     Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

              61.     By the conduct described above, Defendant engaged in unfair and

      deceptive acts or practices by:

              62.     Misrepresenting the Policy by:

              (a)     making an untrue statement of material fact;

              (b)     failing to state a material fact that is necessary to make other statements

              made not misleading, considering the circumstances under which the statements

              were made;

              (c)     making a statement in such a manner as to mislead a reasonably prudent

              person to a false conclusion of material fact; or




PLAINTIFF’S ORIGINAL PETITION                                                   PAGE 16
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             (d)     making a material misstatement of law.

             63.     Defendant knowingly engaged in a course of conduct designed to conceal

      its obligations under the Policy and under Texas law and to delay and avoid paying all

      amounts it legally is responsible to pay.

             64.     Plaintiff has sustained damages as a result of Defendant’s unlawful

      conduct for which Plaintiff now sues. Plaintiff is entitled to all the relief contained in the

      Texas Business & Commerce Code and the Texas Insurance Code, including, but not

      limited to, economic damages, mental anguish damages, injunctive relief, statutory relief,

      attorney’s fees, interest, costs, treble damages, and any other relief the court deems

      appropriate.



                                 Count VIII - Declaratory Judgment

             65.     Plaintiff alleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

             66.     Plaintiff is an interested party under the Policy, whose rights, status, and

      legal relations are affected by the Policy. This Court has authority to grant any other

      relief that it deems proper.

             67.     In order for others to avoid what has happened to Plaintiff, Plaintiff asks

      this Court to declare that Defendant engaged in unfair and deceptive acts or practices by:

             68.     Misrepresenting the Policy by:

             (a)     making an untrue statement of material fact;




PLAINTIFF’S ORIGINAL PETITION                                                      PAGE 17
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             (b)     failing to state a material fact that is necessary to make other statements

             made not misleading, considering the circumstances under which the statement

             were made;

             (c)     making a statement in such a manner as to mislead a reasonably prudent

             person to a false conclusion of a material fact; or,

             (d)     making a material misstatement of law.

             69.     Defendant knowingly engaged in a course of conduct designed to conceal

      its obligations under the Policy under Texas law and to delay and avoid paying all

      amounts it legally is responsible to pay, for which Plaintiff now seeks relief.



                                   Count IX - Unjust Enrichment

             70.     Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

             71.     Alternatively, by engaging in an unlawful course of conduct, Defendant

      obtained a benefit from Plaintiff by fraud, duress, or the taking of an undue advantage.

      Defendant, therefore, wrongfully secured or passively received a benefit from Plaintiff.

      It would be unconscionable for Defendant to retain the proceeds of its unlawful conduct.

      Plaintiff hereby seeks restitution and disgorgement of all proceeds that Defendant have

      unlawfully obtained, in an amount to be determined by the trier of fact.




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 18
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              IX. APPLICATION FOR TEMPORARY RESTRAINING ORDER


             72.     Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

             73.     Plaintiff’s application for a temporary restraining order is authorized by

      Texas Rule of Civil Procedure Rule 680 et seq., by which Plaintiff seeks to enforce its

      right to enforce the Policy.

             74.     Plaintiff requests a temporary restraining order that maintains the status

      quo until a hearing on a temporary injunction can be held. Specifically, Plaintiff requests

      that the Court enjoin Defendant from Defendant’s continuing breach of the Policy and

      enjoin Defendant from unilaterally terminating Plaintiff’s membership and rights under

      the Policy until a hearing on Plaintiff’s application for a temporary injunction can be

      heard. In addition, Plaintiff requests that this Court enjoin Defendant from forfeiting or

      threatening to forfeit to the State the amount of the indemnity payments rightfully due

      and owing pursuant to the Policy. Furthermore, Plaintiff requests that this Court enjoy

      the Defendant from asserting, articulating through publication, or alleging that

      GONZALEZ was in any way responsible for the February Theft or the March Theft of

      the Truck.

             75.     As described above, Defendant’s acts and omissions will continue to cause

      immediate and irreparable injury to Plaintiff.        Without an injunction prohibiting

      Defendant’s acts and omissions, Plaintiff will continue to be deprived of the benefit of its

      bargain with Defendant and will continue to be deprived of the insurance benefits and

      insurance proceeds for which Plaintiff bargained to receive from Defendant.




PLAINTIFF’S ORIGINAL PETITION                                                    PAGE 19
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              76.    The harm identified above herein cannot be adequately remedied by

      money damages because of, among other things, the difficulty of ascertaining the amount

      of such damages. Thus, there exists no adequate remedy at law and Plaintiff is entitled to

      injunctive relief. Further, the damage from Plaintiff failing to receive the benefit of the

      bargain, as well as the loss of opportunity to make other bargains or pursue other business

      relationships, far outweighs any harm to Defendant that could result from issuance of a

      temporary restraining order.

              77.    The harm to Plaintiff is imminent. The ability of Plaintiff to secure an

      insurance contract or Policy with one or more insurance companies has been greatly

      diminished and is virtually non-existent. To the extent that the ability to secure an

      insurance contract or Policy is existent, it is cost prohibitive to Plaintiff due to

      Defendant’s false allegations against Plaintiff. Accordingly, Plaintiff’s rights pursuant to

      the Policy and at law and in equity would be further jeopardized or forfeited without

      Court intervention. Thus, immediate injunctive relief is required to prevent this imminent

      harm.

              78.    Plaintiff have a highly probable right to the relief it seeks on final hearing

      because Plaintiff has complied with Plaintiff’s duties pursuant to the Policy. Defendant

      has breached the Policy and committed various torts through Defendant’s acts and

      omissions.

              79.    Although Plaintiff respectfully requests that the requirement of a bond be

      waived, if the Court deems it appropriate, Plaintiff is willing to post a reasonable cash

      bond or post sufficient business property in lieu of a cash bond.




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 20
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              80.     Because the harm to Plaintiff is imminent, there may be insufficient time

      for Plaintiff to serve notice of this application on Defendant before the hearing; however,

      Plaintiff will make reasonable attempts to contact Defendant to notify Defendant of this

      application and the hearing on the injunctive relief sought herein.



                      X.      REQUEST FOR TEMPORARY INJUNCTION


              81.     Plaintiff realleges and incorporates the facts and allegations contained in

      the foregoing paragraphs, as well as the GONZALEZ Affidavit.

              82.     Plaintiff additionally requests that the Court grant a temporary injunction

      upon the expiration of the temporary restraining order to maintain the status quo until a

      trial can be held on Plaintiff’s request for a permanent injunction. Specifically, Plaintiff

      requests a temporary injunction maintaining the status quo and prohibiting Defendant

      continuing to breach the Policy, until a full trial on the merits of Plaintiff’s application for

      a permanent injunction can be held.

              83.     Plaintiff requests this Court to set its application for temporary injunction

      for a hearing and, after the hearing, issue a temporary injunction against Defendant.

              84.     Plaintiff has joined all indispensable parties pursuant to Texas Rule of

      Civil Procedure 39.



                      XI.     REQUEST FOR PERMANENT INJUNCTION


              85.     Plaintiff realleges and incorporates the facts and allegations contained in

      the foregoing paragraphs, as well as the GONZALEZ Affidavit.




PLAINTIFF’S ORIGINAL PETITION                                                       PAGE 21
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             86.     Plaintiff additionally requests that the Court set its application for a

      permanent injunction for a full trial on the merits and, after the trial, issue a permanent

      injunction against Defendant. Specifically, Plaintiff requests a permanent injunction

      maintaining the status quo and prohibiting Defendant from terminating the Policy and

      continuing to breach the Policy.



                                          XII.   DAMAGES

             87.     Plaintiff realleges and incorporates by reference the facts and allegations

      contained in the foregoing paragraphs, as well as the GONZALEZ Affidavit.

             88.     Plaintiff demands payment of at least $78,420.24 from Defendant. The

      acts, omissions, and continued failure or refusal of STATE FARM, by and through its

      representatives, to issue proper payment constitutes, but is not limited to, negligence,

      fraud, fraud in the inducement, and breach of contract. STATE FARM’s acts, omissions,

      and representations were knowingly and intentionally false when made, were intended to

      deceive or to be relied upon by GONZALEZ, and are deceptive to GONZALEZ as

      consumers of insurance services pursuant to the Texas Deceptive Trade Practices Act

      (Chapter 17, Texas Business and Commerce Code), are unfair and deceptive pursuant to

      the Chapter 541, Texas Insurance Code, and a violation of the prompt payment statute

      pursuant to Chapter 542, Texas Insurance Code.

             89.     Further, due to Defendants’ acts and omissions, Plaintiff has incurred

      reasonable and necessary legal expenses and costs associated with pursuing this action in

      the amount of at least $15,000, for which Plaintiff now sues.




PLAINTIFF’S ORIGINAL PETITION                                                     PAGE 22
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             90.     Further, in accordance with the foregoing causes of action, and based upon

      the Defendant’s conduct and deceptive trade practices described above, Plaintiff seeks

      treble damages pursuant to the Texas Business & Commerce Code and the Texas

      Insurance Code.



                     XIII. ATTORNEY’S FEES, COSTS, AND EXPENSES

             91.     Pursuant to Texas Civil Practice & Remedies Code § 38.001, and other

      applicable authorities under Texas law, Plaintiff seeks reasonable and necessary attorney’

      fees, expert witness fees, and costs.



                                       XIV. JURY DEMAND

             92,     In accordance with Texas Rules of Civil Procedure Rule 216, Plaintiff

      hereby requests trial by jury on all counts herein and requests that this jury trial be set on

      the Court’s Jury Docket.



                           XV. DISCOVERY FILED WITH PETITION

             93.     Pursuant to Rule 194.2 of the Texas Rules of Civil Procedure, Plaintiff in

      the above-styled and numbered cause, serves upon Defendant this Request for

      Disclosure. Pursuant to Rule 194.2 of the Texas Rules of Civil Procedure. The Response

      shall be served upon counsel for Plaintiff.




PLAINTIFF’S ORIGINAL PETITION                                                      PAGE 23
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                                          XVI. PRAYER


              Plaintiff respectfully request that the Defendant be cited to appear and answer

      herein, and that upon final hearing of the cause, judgment be entered for Plaintiff against

      Defendant for compensatory damages, consequential damages, exemplary damages,

      treble damages, declaratory relief, statutory damages, and attorneys’ fees, together with

      pre-judgment interest at the maximum rate allowed by law, post-judgment interest at the

      legal rate, costs of court, and such other and further relief as the Court may deem

      appropriate.

              Furthermore, Plaintiff prays that the Court (i) award Plaintiff actual damages,

      punitive damages, attorney’s fees and expenses incurred and to be incurred in the

      prosecution of this suit; (ii) tax the costs of the suit and proceedings against Defendant;

      and (iii) award Plaintiff such other and further relief to which it may show itself justly

      entitled at law or in equity.

                                                   Respectfully submitted,

                                                   STAFFORD BARROW, PLLC

                                                   /s/ Paul K. Stafford

                                                   PAUL K. STAFFORD
                                                   STATE BAR NO. 00791716
                                                   SYDNE K. COLLIER
                                                   STATE BAR NO. 24089017

                                                   400 N. St. Paul St., Suite 1100
                                                   Dallas, Texas 75201
                                                   (214) 420-1029
                                                   (214) 206-9445 – FAX
                                                   pstafford@staffordbarrow.com
                                                   scollier@staffordbarrow.com

                                                   ATTORNEY FOR PLAINTIFF
                                                   ROSENDO GONZALEZ



PLAINTIFF’S ORIGINAL PETITION                                                   PAGE 24
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                     AFFIDAVIT OF ROSENDO GONZALEZ



 STATE OF TEXAS                     §
                                    §
 COUNTY OF DALLAS                   §



        BEFORE ME, the undersigned authority, on this the 28 th day of March, 2017
 personally appeared ROSENDO GONZALEZ, known to me to be the person whose
 name is subscribed below, and after being duly sworn, stated upon her oath:


       1.     My name is ROSENDO GONZALEZ.

       2.     I am over 18 years of age, and I have never been convicted of a felony or a
              crime of moral turpitude in this state or any other state.

       3.     I am authorized to make this statement and have personal knowledge of
              the fact stated herein.

       4.     Each and every statement contained herein is true and correct, and I am
              fully competent to make this affidavit.

       5.     Rosendo Gonzalez purchased an auto insurance policy# G231-510-
              43T (the "Policy") issued by State Farm ("State Farm").

       6.     On February 26, 2016, a 2003 Dodge Ram 2500 pickup truck (license
              plate #9CMZ12; VIN# 3D7KA28C13G819332) (hereinafter, the
              "Truck") was stolen from 15201 Dallas Parkway, Addison, Texas
              75001 (hereinafter, the "February Theft"). The February Theft was
              promptly reported to the Addison Police Department. (Report: 16-
              1016; Officer Gandy #245; 972-450-7156). The February Theft was
              also promptly reported to Rosendo Gonzalez' auto insurer, State
              Farm, and was assigned a claim number (#43823G088), and one or
              more claims representatives, including Georgina Avila (972-907-
              6222; 855-341-8184; 855-259-8568) and Tony Cooks (253-439-4944;
              800-331-1169).

       7.     The Truck was eventually recovered, prior to March 11, 2016, and
              Rosendo Gonzalez reported the following property damage and
              loss, including but not limited to:
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             License Plate Off
             Fog Lights
             Brush Guard
             Winch
             Speakers inside
             Dash Broken
             Plastic under center
             Ignition Changed
             Wires cut under steering column
             Steering Column Changed
             Tools
             Jack 2 ton
             Lug nut wrench
             Manual for truck
             Jumper cables
             20" Rims and tires (approximate value: $2,100)
             took kit              (approximate value: $200)

       8.    Based upon non-aftermarket parts, accessories, and property of like
             kind and quality for a comparable vehicle, the value of the lost or
             damaged property resulting from the February Theft at the time of
             the theft was approximately $7,500.

       9.    On the evening of March 11, 2016 or early morning hours of March
             12, 2016, the same 2003 Dodge Ram 2500 pickup truck (license plate
             #9CMZ12; VIN # 3D7KA28C13G819332) was stolen from 524
             Fairview Drive, Richardson, Texas 75081 (hereinafter, the "March
             Theft"). The March Theft was reported to the Richardson Police
             Department. (Incident: 201600027121; Officer Fourrier #1212;
             Detective Scott Ulrick #1206; 972-744-4904). The March Theft was
             also promptly reported to Rosendo Gonzalez' auto insurer, State
             Farm, and was assigned a claim number (#43830X854), and one or
             more claims representatives, including Linda Caballero (855-341-
             8184) and Tony Cooks (253-439-4944; 800-331-1169 ext).

       10.   To date, the Truck has not been recovered following the March
             Theft. According to Richardson Police Department Detective
             Ulrick, Rosendo Gonzalez is not a suspect in the March Theft of the
             Truck.

       11.   Based upon vehicles of like kind and quality, and a comparison of
             comparable vehicle available for sale or purchase in the market, the
             estimated market value of the Truck at the time of the theft was
             approximately $19,000 (hereinafter, the "Market Value").
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       12.   Based upon vehicles of like kind and quality, and a comparison of
             the cost to repair the Truck, or to replace the Truck with a
             comparable vehicle in the market, the estimated actual cash value
             of the Truck at the time of the theft was approximately $18,300
             (hereinafter, the "Actual Cash Value").

       13.   Subsequent to the March Theft, State Farm issued the following
             checks as indemnity for the February Theft (hereinafter, the
             "February Theft Payments"), as follows:

             Payment No:         1 08146580 J
             Payment Amount:     $1,609.83
             Issue Date:         03-12-2016
             Authorized by:      Georgina Avila
             Phone:              (855) 341-8184

             Payment No:         1 08167720 J
             Payment Amount:     $ 3,200.00
             Issue Date:         03-28-2016
             Authorized by:      Tony Cooks
             Phone:              800-331-1169

       14.   The February Theft Payments offered by State Farm as
             compensation for the occurrence (February Theft) are a
             misrepresentation of the compensation and indemnity owed by
             State Farm to Rosendo Gonzalez, and is far less than the value of
             the lost or damages property incurred by Rosendo Gonzalez. In
             addition, the February Theft Payments (issued March 12, 2016 and
             March 28, 2016) were not promptly paid to Rosendo Gonzalez and
             were not issued until after the date of the March Theft (March 11,
             2016).

       15.   Regarding the March Theft, Rosendo Gonzalez received a letter
             from State Farm dated "April 18, 2016", stating, and offering the
             following amount in indemnity, as follows:

             Actual Cash Value                          $12,406.00
             Plus: Taxes                                $ 775.38
             License & Title Fees:                      $    59.83
             Registration Fee                           $    24.50
             Less: Deductible                           $   100.00
             Payment to Lienholder (if applicable)$ Unknown
Case 3:17-cv-01119-G Document 1-3 Filed 04/27/17        Page 35 of 46 PageID 72


                   Total Net Payable to You:           $13,141.21


      16.   The March Theft Payment offered by State Farm as compensation
            for the occurrence (March Theft) is a misrepresentation of the
            compensation and indemnity owed by State Farm to Rosendo
            Gonzalez, and is far less than both the Market Value of the Truck
            (approximately $19,000) as well as the Actual Cash Value
            (approximately $18,300) of the Truck.

      17.   In addition, Rosendo Gonzalez incurred other necessary expenses
            as a result of the February Theft, including, but not limited to, the
            following:

            Car Rental 2/29/16 - 4/12/16:             $640.08

      18.   As of the date of the May 2016 Demand Letter from Rosendo
            Gonzalez to State Farm, State Farm did not promptly pay, has not
            promptly paid, and has not paid the full value of the compensation
            and indemnity owed to its policyholder Rosendo Gonzalez for the
            February Theft or for the March Theft. State Farm owes Rosendo
            Gonzalez an amount to compensate and indemnify Rosendo
            Gonzalez for the lost or damaged property resulting from the
            February Theft (approximately $7,500) as well as the rental car
            expenses that resulted from the February Theft (at least $640.08), as
            well as the fair Market Value (approximately $19,000) or the
            accurate Actual Cash Value (approximately $18,300) resulting from
            the March Theft, for a total sum owing by State Farm to Rosendo
            Gonzalez of at least $26,140.08.

      19.   The acts, omissions, and continued failure or refusal of State Farm,
            by and through its representatives, to issue proper payment
            constitutes, but is not limited to, negligence, fraud, fraud in the
            inducement, and breach of contract. State Farm's acts, omissions,
            and representations were knowingly and intentionally false when
            made, were intended to deceive or to be relied upon by Rosendo
            Gonzalez, are deceptive to Rosendo Gonzalez as consumers of
            insurance services pursuant to the Texas Deceptive Trade Practices
            Act (Chapter 17, Texas Business and Commerce Code), are unfair
            and deceptive pursuant to the Chapter 541 of the Texas Insurance
            Code, and are a violation of the prompt payment statute pursuant
            to Chapter 542 of the Texas Insurance Code. Accordingly, Rosendo
            Gonzalez is entitled to, and does now seek, punitive and treble
            damages from State Far in the amount of $78,420.24 payable to
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                               Tab 3
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FORM NO. 353-3 - CITATION                                                                                             ESERVE
THE STATE OF TEXAS                                                                                                   CITATION
To:     STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
        BY SERVING ITS REGISTERED AGENT CORPORATION SERVICE COMPANY
                                                                                                                     DC-17-03661
        211 EAST 7th STREET STE 620
        AUSTIN TX 78701-3218

GREETINGS:                                                                                                     ROSENDO GONZALEZ
You have been sued. You may employ an attorney. If you or your attorney do not file a written                         vs.
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the      STATE FARM MUTUAL AUTOMOBILE
expiration of twenty days after you were served this citation and petition, a default judgment may be         INSURANCE COMPANY
taken against you. Your answer should be addressed to the clerk of the 193rd District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                   ISSUED THIS
Said Plaintiff being ROSENDO GONZALEZ                                                                         29th day of March, 2017

Filed in said Court 28th day of March, 2017 against                                                                FELICIA PITRE
                                                                                                                 Clerk District Courts,
STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY                                                                   Dallas County, Texas

For Suit, said suit being numbered DC-17-03661, the nature of which demand is as follows:
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition, a copy of which accompanies this                    By: GAY LANE, Deputy
citation. If this citation is not served, it shall be returned unexecuted.                                ________________________________

WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    Attorney for Plaintiff
Given under my hand and the Seal of said Court at office this 29th day of March, 2017.                           PAUL K STAFFORD
                                                                                                             STAFFORD BARROW PLLC
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                   400 N ST PAUL STREET
                                                                                                                     SUITE 1100
                                  /s/ Gay Lane                                                                   DALLAS TX 75201
                        By__________________________________, Deputy
                             GAY LANE                                                                               214-420-1029
                            Case 3:17-cv-01119-G Document 1-3 Filed 04/27/17                                      Page 39 of 46 PageID 76




                                                                       OFFICER'S RETURN
Case No. : DC-17-03661

Court No.193rd District Court

Style: ROSENDO GONZALEZ

vs.

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________
____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by
me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation        $__________                    _______________________________________________

                                For mileage                  $__________                   of__________________County, ____________________
                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                           _____________________________________________________

                                                                                           Notary Public___________________County_________________
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                               Tab 4
                                                                                            FILED
                                                                                DALLAS COUNTY
                                                                            4/10/2017 10:09:09 AM
Case 3:17-cv-01119-G Document 1-3 Filed 04/27/17   Page 41 of 46 PageID   78       FELICIA PITRE
                                                                                 DISTRICT CLERK

                                                                Diemeary Dobbins
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                               Tab 5
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                                               DC-17-03661

               ROSENDO GONZALEZ                                      IN THE DISTRICT COURT

                         vs.                                         193RD JUDICIAL DISTRICT

STATE FARM MUTUAL AUTOMOBILE INSURANCE                                DALLAS COUNTY TEXAS
               COMPANY

                                 NOTICE OF INITIAL DISMISSAL HEARING


Counsel or Pro Se Plaintiff:

This case is set for a hearing on the Initial Dismissal Docket, as per Tex. R. Civ. P. 165a, for THURSDAY,
July 06, 2017, at 1:30 p.m. in the 193rd District Court Courtroom.

1.      If no Defendant has been served as evidenced by no return of citation having been filed with the
        court on or before the Dismissal Hearing, the case is subject to being dismissed at the Dismissal
        Hearing;

2.      If service has been made on a Defendant, but no answer has been filed (and any such answer is
        past due before the Dismissal Hearing Date), you must obtain a default judgment on or before
        the Dismissal Hearing, or the case is subject to being dismissed at the Dismissal Hearing. You are
        encouraged to submit requests for default by submission with affidavit.

3.      If service on at least one Defendant has been made and the citation has been returned to the
        Court before the Dismissal Hearing, but the time to file an answer has not yet expired, then the
        Dismissal Hearing is hereby reset for the Friday four weeks following the initial date of the
        Dismissal Hearing (i.e. the date listed above). (If this Friday falls on a holiday, the Dismissal
        Hearing is reset to the next Friday that is not a holiday.) No further dismissal notice will be sent,
        and you are expected to obtain a default judgment before the reset date of the Dismissal
        Hearing, or the case is subject to being dismissed.

4.      If an answer is filed on or before the Dismissal Hearing, the case will be referred to the Court
        Coordinator to be set for trial, if not already set.

SIGNED this April 13, 2017



        ______________________________
        The Honorable Carl Ginsberg
        193rd Judicial District Court
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                               Tab 6
                                                                                                                  FILED
                                                                                                      DALLAS COUNTY
                                                                                                  4/21/2017 12:48:14 PM
  Case 3:17-cv-01119-G Document 1-3 Filed 04/27/17                  Page 45 of 46 PageID        82       FELICIA PITRE
                                                                                                       DISTRICT CLERK



                                    CAUSE NO. DC-17-03661


ROSENDO GONZALEZ             §                                IN THE DISTRICT COURT
    Plaintiff,               §
VS.                          §
                             §                                193rd JUDICIAL DISTRICT
                             §
STATE FARM MUTUAL AUTOMOBILE §
INSURANCE COMPANY            §
     Defendant.              §                                DALLAS COUNTY, TEXAS


                    ORIGINAL ANSWER OF STATE FARM MUTUAL
                       AUTOMOBILE INSURANCE COMPANY


TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Defendant, State Farm Mutual Automobile Insurance Company ("State

Farm") and hereby files its Original Answer to Plaintiff's Original Petition, and for same would show

the Court as follows:

                                                 I.

       State Farm denies each and every, all and singular, the allegations set forth in Plaintiff's

Original Petition, and demands strict proof thereof upon a trial of this cause before a jury.
                                          JURY DEMAND

        In accordance with Rule 216 of the Texas Rules of Civil Procedure, Defendant demands a

trial by jury. A jury fee will be paid.



       WHEREFORE, Defendant, State Farm prays that Plaintiff take nothing from Defendant by

this action and that Defendant be allowed all costs expended herein.




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                                               Respectfully submitted,
                                               THE LAW OFFICE OF ARMANDO DE DIEGO, P.C.




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                                 CERTIFICATE OF SERVICE

      This is to certify that on the 21st day of April, 2017, a true and correct copy of the foregoing
document has been personally served, as indicated below:

     Mr. Paul K. Stafford                                U    Via Electronic Service
     Ms. Sydne K. Collier
                                                              Via Certified Mail
     STAFFORD BARROW, PLLC
     400 N. St. Paul St., Suite 1100                          Via Facsimile
     Dallas, Texas 75201
                                                      ______ Via Regular Mail




                                                  /s/ Armando De Diego
                                               ARMANDO DE DIEGO




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